           Case 4:23-cr-00009-DPM Document 1 Filed 01/03/23 Page 1 of 1
                                                                                        FILED
                                                                                    U.S. DISTRICT COURT
                                                                                EASTERN DISTRICT ARKANSAS
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION
                                                                                                 CLERK
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UNITED STATES OF AMERICA                     )       No. 4:23CRooq     VfM
                                             )
V.                                           )       Title 18, U.S.C. § 1708
                                             )
HALL YE ELIZABETH TURNER                     )


                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNT 1

       On or about June 1, 2022, in the Eastern District of Arkansas, the defendant,

                               HALL YE ELIZABETH TURNER,

unlawfully had in her possession, mail and mail matter, that had been stolen and taken from

residential mailboxes, that is, mail that had been stolen from approximately 29 residences,

knowing that the mail had been stolen from residential mailboxes.

       All in violation of Title 18, United States Code,§ 1708.




                     (END OF TEXT. SIGNATURE PAGE ATTACHED.)
